OSCAR E. REHM, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Rehm v. CommissionerDocket No. 20633.United States Board of Tax Appeals21 B.T.A. 243; 1930 BTA LEXIS 1891; November 7, 1930, Promulgated *1891  Where petitioner was engaged in trading in securities and also president of a stock and bond brokerage company, held that the loss sustained by petitioner in his personal tradings constituted a "net loss." Camden R. McAtee, Esq., for the petitioner.  E. M. Neiss, Esq., for the respondent.  ARUNDELL*243  This proceeding is for the redetermination of a deficiency in income tax for the year 1922 amounting to $893.38.  Heretofore the proceeding was heard and determined by the Board and its decision is reported in 16 B.T.A. at page 1045. Final determination in favor of the respondent was entered June 14, 1929.  On motion of the petitioner a rehearing was granted and the order of final determination was set aside and revoked by orders dated respectively October 16, 1929, and October 19, 1929.  The sole issue is whether or not a loss sustained in 1921 is a net loss resulting from the operation of a trade or business regularly carried on, which may be carried forward into the year 1922 under the provisions of section 204 of the Revenue Act of 1921.  FINDINGS OF FACT.  During the year 1921 the petitioner was president, acting manager*1892  and the principal stockholder of a corporation which was organized in 1920 and which was engaged in the business of buying and selling stocks and bonds for its customers.  The petitioner gave his constant attention to the corporate business and received a salary for his services of about $10,000 per year.  His official duties occupied about three-fourths of the business day.  He spent the balance of the time in watching the market and trading for himself.  He was consulted by customers as to his personal investments and activities in the market as well as for his opinion as president of the company as to market conditions.  Since 1903 petitioner has traded in the stock market.  Before entering the brokerage business in 1920 petitioner carried his individual trading account with other firms and afterwards with his own firm.  Most of the account was carried on margin established by his personal collateral and on loans obtained by him from banks on his personal credit.  During 1921 petitioner's total investment in stock traded in by him was from $200,000 to $300,000, of which amount $50,000 was his own capital.  In 1921 petitioner sold two blocks of stock bought in 1919 at a cost of*1893  $32,898, one block of *244  stock bought in 1920 at a cost of $9,225 and seven blocks of stock bought in 1922 at a cost of $64,240.  In 1921 he bought altogether fourteen blocks of various stocks at an aggregate cost of $125,717, selling part of them as stated in 1921 and selling the remainder in 1922.  His actual "in and out" transactions in the stock market for the year 1921 exceeded an average of $10,000 per month and his marginal transactions ranged between $150,000 and $250,000 in addition to the sum of $50,000 of his own capital invested in these transactions.  The blocks of stock sold by him in 1921 cost $106,363 and were sold for the sum of $81,667.50, the sale thereby resulting in a loss of $24,695.50.  The respondent allowed the deduction from petitioner's income for the year 1921 of said sum of $24,695.50.  This allowance resulted in a net loss being shown for the year 1921 in the sum of $9,374.17.  The respondent, however, refused to allow this amount to be carried over as a net loss deductible from petitioner's income for 1922 pursuant to the provisions of section 204 of the Revenue Act of 1921.  OPINION.  ARUNDELL: The only dispute in this case is whether*1894  the loss of $9,374.17 sustained by petitioner in 1921 was a "net loss" within the meaning of section 204(a) of the Revenue Act of 1921.  That is, whether it was a loss "resulting from the operation of a trade or business regularly carried on by the taxpayer." It is not necessary that the trade or business be the taxpayer's principal occupation; it is enough if his activities are such that they may of themselves be regarded as a regular occupation for the purpose of livelihood or profit.  The evidence shows that petitioner has traded in the stock market since 1903.  While in 1921 his duties as head of the brokerage firm occupied about three-fourths of the business day, at the same time he was carrying on his individual trading.  His market information was useful and was used in conducting both his personal trading and the business of his firm.  He was consulted as to his personal investments as well as for his opinion as head of the firm.  In these circumstances it is difficult, if not impossible, to separate petitioner's personal business from that of his duties as head of the brokerage company and to say that only a small portion of his time was exclusively devoted to trading for*1895  himself.  All of his time was devoted to acquiring and using one kind of information and such information was used in two ways - both for petitioner's personal transactions and for those of the firm.  Both sorts of transactions were of the same character - the purchase and sale of securities, *245  and both had in view the production of income from dealing in securities.  As pointed out in , the net loss provision is a relief provision, and we think it should not be so narrowly construed as to deny its benefits where, as here, the taxpayer's personal business was of the same kind as that of the company of which he was president, particularly where the taxpayer's personal operations were carried on over a period of years with the regularity shown in this case, and where they reached the size and volume they did in the taxable year.  In our opinion petitioner is entitled to the deduction claimed.  Cf. ; . Reviewed by the Board.  Decision will be entered for the petitioner.VAN FOSSAN dissents.  